           Case 1:19-vv-00396-UNJ Document 50 Filed 10/20/20 Page 1 of 7




     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-396V
                                          UNPUBLISHED


    DOLORES WALTON,                                             Chief Special Master Corcoran

                         Petitioner,                            Filed: September 18, 2020
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Tetanus
    HUMAN SERVICES,                                             Diphtheria acellular Pertussis (Tdap)
                                                                Vaccine; Shoulder Injury Related to
                         Respondent.                            Vaccine Administration (SIRVA)


Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for petitioner.

Voris Edward Johnson, U.S. Department of Justice, Washington, DC, for respondent.


                                DECISION ON JOINT STIPULATION 1

        On March 14, 2019, Dolores Walton filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a Shoulder Injury Related to Vaccine
Administration (“SIRVA”) as a result of her January 20, 2012 Tetanus Diphtheria acellular
Pertussis (“Tdap”) vaccination. Petition at 1; Stipulation, filed at September 16, 2020, ¶¶
1-2. Petitioner further alleges the vaccine was administered within the United States, that
she suffered the residual effects of her injury for more than six months, and that there has
been no prior award or settlement of a civil action on her behalf as a result of her injury.
Stipulation at ¶¶ 3-5. See Petition at ¶¶5-6. “Respondent denies that petitioner sustained
a Table SIRVA within the Table timeframe, and denies that the Tdap vaccine in fact
caused her alleged shoulder injury and residual effects, or any other injury.” Stipulation
at ¶ 6.


1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
          Case 1:19-vv-00396-UNJ Document 50 Filed 10/20/20 Page 2 of 7



        Nevertheless, on September 16, 2020, the parties filed the attached joint
stipulation, stating that a decision should be entered awarding compensation. I find the
stipulation reasonable and adopt it as my decision awarding damages, on the terms set
forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $30,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision. 3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                    2
Case 1:19-vv-00396-UNJ Document 50 Filed 10/20/20 Page 3 of 7
Case 1:19-vv-00396-UNJ Document 50 Filed 10/20/20 Page 4 of 7
Case 1:19-vv-00396-UNJ Document 50 Filed 10/20/20 Page 5 of 7
Case 1:19-vv-00396-UNJ Document 50 Filed 10/20/20 Page 6 of 7
Case 1:19-vv-00396-UNJ Document 50 Filed 10/20/20 Page 7 of 7
